          Case 1:15-vv-00662-UNJ Document 33 Filed 05/20/16 Page 1 of 2




In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-662V
                                      Filed: April 28, 2016
                                       Not to be Published

*************************************
SARAH DAVIS,                                 *
                                             *
               Petitioner,                   *            Joint stipulation of dismissal;
                                             *            Order concluding proceedings
 v.                                          *            under Vaccine Rule 21(a);
                                             *            Menactra; altered mental state
SECRETARY OF HEALTH                          *
AND HUMAN SERVICES,                          *
                                             *
               Respondent.                   *
                                             *
*************************************
Anne C. Toale, Sarasota, FL, for petitioner.
Adriana Teitel, Washington, DC, for respondent.

MILLMAN, Special Master

                            ORDER CONCLUDING PROCEEDINGS 1

       On June 24, 2015, petitioner filed a petition under the National Childhood Vaccine Injury
Act, 42 U.S.C. § 300aa-10-34 (2012), alleging that Menactra vaccine administered on June 20,
2012 caused her to develop an altered mental state. See Pet. at ¶ 3.

        On April 28, 2016, the parties filed a Joint Stipulation of Dismissal, stating, “The parties
hereby stipulate that this action shall be dismissed.” J. Stip. at ¶ 2. The stipulation concludes,
“Petitioner understands that an order concluding the proceedings under Rule 21(a) will not result
in a judgment which would allow the pursuit of a civil claim.” Id. at ¶ 3.

1
  Because this Order Concluding Proceedings contains a reasoned explanation for the special master’s
action in this case, the special master intends to post this Order Concluding Proceedings on the United
States Court of Federal Claims’ website, in accordance with the E-Government Act of 2002, 44 U.S.C. §
3501 note (2012) (Federal Management and Promotion of Electronic Government Services). Vaccine
Rule 18(b) states that all decisions of the special masters will be made available to the public unless they
contain trade secrets or commercial or financial information that is privileged and confidential, or medical
or similar information whose disclosure would constitute a clearly unwarranted invasion of privacy.
When such a decision is filed, petitioners have 14 days to identify and move to redact such information
prior to the document’s disclosure. If the special master, upon review, agrees that the identified material
fits within the categories listed above, the special master shall redact such material from public access.
         Case 1:15-vv-00662-UNJ Document 33 Filed 05/20/16 Page 2 of 2



                                         DISCUSSION

        Under Vaccine Rule 21(a)(1), petitioner may engage in a voluntary dismissal by filing a
stipulation of dismissal which all parties have signed, which the parties have done.

       Under Vaccine Rule 21(a)(3), the result of this voluntary dismissal is an Order
Concluding Proceedings. No judgment will enter pursuant to Vaccine Rule 11 for purposes of
42 U.S.C. § 300aa-21(a).

                                        CONCLUSION

        ORDERED. The petition is DISMISSED. The clerk of the court is directed to remove
this case from the docket of the undersigned. The telephonic status conference set for April 29,
2016 is CANCELLED.


IT IS SO ORDERED.


Dated: April 28, 2016                                               s/ Laura D. Millman
                                                                     Laura D. Millman
                                                                       Special Master




                                                2
